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     Attorneys for Plaintiff,
12   Khalid Zubair
13                        UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA

15   KHALID ZUBAIR,                             Case No.: CV16-5644-TJH (PLAz)
16
                     Plaintiff,
17
                                v.              NOTICE OF SETTLEMENT
18
     ZEE LAW GROUP; AND
19   COLLECT ACCESS, LLC,
20
                     Defendants,
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22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

                                              1 of 2
                                     NOTICE OF SETTLEMENT
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 1   TO THE HONORABLE COURT, ALL PARTIES HEREIN, AND THEIR
 2   RESPECTIVE ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE that this action has settled. Plaintiff respectfully
 4   requests that this Honorable Court vacate all pending dates and allow the parties
 5   forty-five (45) days within which to file dispositional papers. This Court shall
 6   retain jurisdiction over this matter until fully resolved.
 7
 8   Dated: March 8, 2018                        Respectfully submitted,
 9                                               KAZEROUNI LAW GROUP, APC
10
                                                 By:    /s/ Mona Amini ______
11                                                      MONA AMINI, ESQ.
                                                        ATTORNEYS FOR PLAINTIFF
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                                              2 of 2
                                     NOTICE OF SETTLEMENT
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                                   PROOF OF SERVICE
 1
 2         I am a resident of the State of California, over the age of eighteen years, and
 3   not a party to the within action. My business address is KAZEROUNI LAW
     GROUP, APC, 245 Fischer Avenue, Unit D1, Costa Mesa, California 92626.
 4
     On March 8, 2018, I served the within document(s):
 5
          NOTICE OF SETTLEMENT
 6
 7
          S       CM/ECF - by transmitting electronically the document(s) listed
 8                above to the electronic case filing system on this date before
 9                11:59 p.m. The Court’s CM/ECF system sends an e-mail notification
10                of the filing to the parties and counsel of record who are registered
                  with the Court’s CM/ECF system.
11
12
            I declare under penalty of perjury under the laws of the State of California
13   that the above is true and correct. Executed on March 8, 2018 at Costa Mesa,
14   California.
15
                                                          /S/ MONA AMINI
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                                                            MONA AMINI, ESQ.
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                                      PROOF OF SERVICE
